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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT



________________________________________________
                                                )
UNITED STATES OF AMERICA,                       )
                                                )
                         PLAINTIFF,             )                  Civil Action No.:
                                                )                  3:24-CV-02052-VDO
                                                )
             V.                                 )
                                                )
SDP L.L.C., D/B/A STREET DIESEL PERFORMANCE, )
                                                )
                                                )
                         DEFENDANT.             )
________________________________________________)

   STATUS REPORT AND MOTION FOR THE CLERK TO ENTER DEFENDANT’S
              DEFAULT PURSUANT TO FED. R. CIV. P. 55(A)

       The United States, on behalf of the Environmental Protection Agency, submits this Status

Report and Motion for the Clerk to Enter Defendant’s Default Pursuant to Fed. R. Civ. P. 55(a),

and states as follows:

       1.      On December 30, 2024, the United States filed a complaint against Defendant

SDP L.L.C., d/b/a Street Diesel Performance (“SDP”). ECF No. 1.

       2.      Pursuant to Federal Rules of Civil Procedure 4(m) and 6(a)(1)(C), the deadline for

the United States to serve the Complaint on SDP was March 31, 2025.

       3.      On January 22, 2025, the United States requested the Clerk to issue a summons as

to SDP, which the Clerk issued on January 23, 2025. ECF No. 8.

       4.      Pursuant to Federal Rule of Civil Procedure 4(l), on March 28, 2025, the United

States effected service of the Complaint via a Private Process Server by serving Cody Langlois,

Managing Agent authorized to accept service on behalf of SDP, at SDP’s business address of



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record, 195 Palmer Road, Chaplin, Connecticut 06235. The service included the Summons,

Complaint, Civil Cover Sheet, Notice Pursuant to Federal Rule of Civil Procedure 7.1, Order on

Pretrial Deadlines, Electronic Filing Order, Standing Protective Order, Notice of Option to

Consent to Magistrate Judge Jurisdiction, and Notice to Counsel and Self-Represented Parties.

Exhibit 1, ECF No. 10.

       5.      On April 2, 2025, the United States filed the Affidavit of Service with the Court.

Exhibit 1, ECF No. 10.

       6.      Pursuant to Federal Rule of Civil Procedure 12(a)(1)(A)(i) and (b), SDP’s Answer

or motion asserting defenses was due on April 18, 2025.

       7.      As of the date of this filing, SDP has failed to enter a notice of appearance or file

an Answer or motion asserting defenses.

       8.      On April 21, 2025, the Court issued an order directing the United States to file

either: (1) a motion for default entry, (2) a notice of voluntary dismissal, or (3) a status report

regarding intended next steps. ECF No. 11.

       9.      Federal Rule of Civil Procedure 55(a) provides that “[w]hen a party against whom

a judgment for affirmative relief is sought has failed to plead or otherwise defend, and that

failure is shown by affidavit or otherwise, the clerk must enter the party’s default.”

       10.     Federal Rule of Civil Procedure 55(b)(2) provides that a party must then “apply to

the court for a default judgment.”

       11.     The United States respectfully requests that the Clerk enter SDP’s default on the

docket pursuant to Federal Rule of Civil Procedure 55(a).




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         12.    Counsel for the United States is seeking required approval from higher-level

government officials to file a Motion for Default Judgment pursuant to Federal Rule of Civil

Procedure 55(b)(2) and will file such a motion once approval is granted.

         13.    If the United States has not filed a Rule 55(b)(2) motion by July 21, 2025 (sixty

days from today), it will file a further status report.


                                        Respectfully submitted,

                                        ADAM R.F. GUSTAFSON
                                        Acting Assistant Attorney General
                                        Environment & Natural Resources Division
                                        United States Department of Justice


Dated:     May 21, 2025                 s/ Alexandra B. Sherertz
                                        ALEXANDRA B. SHERERTZ
                                        Senior Attorney
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                                        DAVID X. SULLIVAN
                                        UNITED STATES ATTORNEY

Dated:     May 21, 2025                 s/ Anne F. Thidemann
                                        ANNE F. THIDEMANN
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                                CERTIFICATE OF SERVICE
        I, Alexandra B. Sherertz, hereby certify that I served this Status Report and Motion for
the Clerk to Enter Defendant’s Default Pursuant to Fed. R. Civ. P. 55(a), on SDP L.L.C. d/b/a
Street Diesel Performance by sending it to its address of record, 195 Palmer Road, Chaplin,
Connecticut 06235.


Dated:     May 21, 2025               s/ Alexandra B. Sherertz
                                      ALEXANDRA B. SHERERTZ
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                                      Environment and Natural Resources Division
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